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1    Thane D. Somerville WSBA #31468 pro hac vice
2    Thomas P. Schlosser WSBA #06276 pro hac vice
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55
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     Attorneys for Plaintiff Hoopa Valley Tribe
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 7
 8                           UNITED STATES DISTRICT COURT
 8
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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     HOOPA VALLEY TRIBE,                            )   Civ. No. 1:20-cv-1814-JLT-EPG
11
11                                                  )
12         Plaintiff,                               )
12                                                  )   DECLARATION OF THANE
13         v.                                       )   SOMERVILLE IN SUPPORT OF
13                                                  )   PLAINTIFF’S MOTION FOR
14   UNITED STATES BUREAU OF                        )   PRELIMINARY INJUNCTION
14   RECLAMATION; DEBRA ANNE HAALAND,               )
15
     in her official capacity as Secretary of the   )   Date: January 20, 2023
15
16   Interior; MARIA CAMILLE CALIMLIM               )   Time: 9:00 AM
16   TOUTON, in her official capacity as            )   Courtoom: 4 – 7th Floor, Fresno
17   Commissioner of the United States Bureau of    )   Hon. Jennifer L. Thurston
17   Reclamation; ERNEST A. CONANT, in his          )
18   official capacity as United States Bureau of   )
18   Reclamation California-Great Basin Regional    )
19
     Director; and UNITED STATES                    )
19   DEPARTMENT OF THE INTERIOR                     )
20
                                                    )
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21         Defendants.                              )
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     DECLARATION OF THANE SOMERVILLE RE
27   PLAINTIFF’S MOTION FOR
     PRELIMINARY INJUNCTION - 1
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1    I, Thane D. Somerville, state and declare as follows:

2           1. I am legal counsel of record for Plaintiff Hoopa Valley Tribe in this proceeding.

33          2. I certify that required meet and confer efforts have been exhausted in advance of

44              filing Plaintiff’s motion for preliminary injunction.

55          3. On December 12, 2022, I participated in a video conference call with Defendants’

66              legal counsel in this action in which I informed them that Plaintiff intended to file

 7              motions for temporary restraining order and preliminary injunction to enjoin
 7
 8              implementation of the Trinity River Winter Flow Variability Project, which was at
 8
 9              that time scheduled to commence implementation on December 15, 2022.
 9
10          4. During the December 12 video conference call, Hoopa further requested, and the
10
11              parties discussed, that Defendants not approve or withdraw approval of the WFV
11
12              Project in the absence of Hoopa concurrence in order to avoid the need for motions
12
13              for temporary restraining order and preliminary injunction.
13
14          5. In the December 12 call, Defendants’ representatives stated they would confer
14
15              internally and respond back to Hoopa representatives by the close of business
15
16              December 13. On December 13, I received an e-mail from Defendants’ counsel, a
16
17              true and correct copy of which is attached as Exhibit 6 to this Declaration.
17
18          6. On December 14, in response to the December 13 e-mail communication, the Hoopa
18
19              Chairman sent an e-mail to federal Defendants’ representatives, including
19
20              Defendants’ counsel informing Defendants of Hoopa’s intent to file the motions for
20
21              TRO and preliminary injunction on December 16 and to seek a hearing as soon as
21
22              possible the week of December 19 unless federal Defendants agreed, no later than
22
23              5:00 PM (Eastern) on December 15, 2022, to honor Hoopa’s concurrence rights and
23
24              agree to not proceed with the WFV project. A true and correct copy of that
24
25              correspondence is attached as Exhibit 5 to the Declaration of Joe Davis, filed today.
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     DECLARATION OF THANE SOMERVILLE RE
27   PLAINTIFF’S MOTION FOR
     PRELIMINARY INJUNCTION - 2
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         Case 1:20-cv-01814-JLT-EPG Document 111 Filed 12/16/22 Page 3 of 5



1         7. Defendants’ counsel responded to this letter on December 15, 2022 via e-mail, a true

2              and correct copy of which is attached as Exhibit 7 hereto. The e-mail states, in part,

33             “As the parties agree that it is not in anybody’s benefit to attempt to address the

44             Tribe’s concerns through an expedited motion for a TRO, the Interior Department

55             advises that it is considering the Tribe’s December 14 letter, and is willing to commit

66             to give the Tribe at least 5 business days notice before any decision is made with

 7             respect to the Trintiy River (sic) Council’s vote to recommend the winter flows, and
 7
 8             at least 10 business days notice before the implementation of any such decision.”
 8
 9        8.   Plaintiff’s and Defendants’ representatives and legal counsel again conferred on
 9
10             December 16, 2022 via video conference call. I personally participated in this call.
10
11             Defendants’ counsel again confirmed that no action would be taken by Defendants to
11
12             implement the WFV Project for a minimum of 15-business days (3 full weeks)
12
13             following delivery of a written notice from Defendants to the Tribe.
13
14        9. Plaintiff and their undersigned legal counsel have provided Defendants and their
14
15             counsel with actual notice of Plaintiff’s intent and plan to file a motion for
15
16             preliminary injunction. Defendants’ counsel are registered users of the CM/ECF
16
17             electronic filing system and will also receive additional timely actual notice and
17
18             service of Plaintiff’s motions and related pleadings when electronically filed with the
18
19             Court.
19
20        10. Attached as Exhibit 1 is a true and correct copy of Section 3406(b)(23) of the Central
20
21             Valley Project Improvement Act, Public Law 102-575 (1992).
21
22        11. Attached as Exhibit 2 is a true and correct copy of the Trinity River Record of
22
23             Decision (2000).
23
24        12. Attached as Exhibit 3 are excerpts (Executive Summary, Chapters 1, 2, and 8) of the
24
25             Trinity River Flow Evaluation Report (June 1999) co-authored by the Hoopa Valley
25
26             Tribe and U.S. Fish and Wildlife Service.
26
     DECLARATION OF THANE SOMERVILLE RE
27   PLAINTIFF’S MOTION FOR
     PRELIMINARY INJUNCTION - 3
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           Case 1:20-cv-01814-JLT-EPG Document 111 Filed 12/16/22 Page 4 of 5



1           13. Attached as Exhibit 4 is a true and correct copy of the 2021 Scoping Notice for

2               Winter Flow Variability Action.

33          14. Attached as Exhibit 5 is a true and correct copy of a map entitled “Klamath Basin &

44              Central Valley water supplies and facilities”

55          I declare under penalty of perjury under the laws of the United States of America that the

66   foregoing statements are true and correct.

 7          DATED this 16th day of December, 2022.
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 8
 8                                        ___/s/ Thane D. Somerville
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 9                                        Thane D. Somerville
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     DECLARATION OF THANE SOMERVILLE RE
27   PLAINTIFF’S MOTION FOR
     PRELIMINARY INJUNCTION - 4
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2
                                     CERTIFICATE OF SERVICE
33

44          I hereby certify that on December 16, 2022, I electronically filed the foregoing with the

55   Clerk of the Court using the CM/ECF system, which will send notification of such to the

66   attorneys of record.

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                                                         /s/ Thane D. Somerville
 8                                                       Thane D. Somerville
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     DECLARATION OF THANE SOMERVILLE RE
27   PLAINTIFF’S MOTION FOR
     PRELIMINARY INJUNCTION - 5
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